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                   UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF TEXAS
                          AUSTIN DIVISION



MWK RECRUITING, INC,

          Plaintiff
                                          Case No. 1:18-cv-00444-RP
          v.

EVAN P. JOWERS, YULIYA
VINOKUROVA, LEGIS
VENTURES (HK) COMPANY
LIMITED, AND ALEJANDRO
VARGAS,

          Defendants



EVAN P. JOWERS,

          Counterclaimant

          v.

MWK RECRUITING, INC.,
ROBERT E. KINNEY,
MICHELLE W. KINNEY,
RECRUITING PARTNERS GP, INC.,
KINNEY RECRUITING LLC,
COUNSEL UNLIMITED LLC, and
KINNEY RECRUITING LIMITED,

          Counterdefendants




               PLAINTIFF/COUNTER-DEFENDANTS’ MOTION
                  FOR PARTIAL SUMMARY JUDGMENT
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I.     INTRODUCTION

       On December 21, 2020, Evan P. Jowers (“Jowers”) filed his Third Amended

Answer, Affirmative Defenses, and Counterclaims of Defendant Evan P. Jowers to MWK

Recruiting, Inc.’s Second Amended Complaint (“Jowers’s Counterclaims”). (Dkt. 237).

Jowers’s Counterclaims assert the following causes of action (collectively, the “Causes of

Action”):

            •   COUNT I: Breach of Contract – Hong Kong Office Expenses (against
                Kinney, Kinney Recruiting LLC, Kinney Recruiting HK, and MWK) (Dkt.
                237, at 50-52);

            •   COUNT II: Breach of Contract – Unpaid Bonuses (against Kinney,
                Recruiting Partners GP, Inc., Kinney Recruiting LLC, Kinney Recruiting
                HK, and MWK) (Dkt. 237, at 52-53);

            •   COUNT III: Breach of Contract – Retroactive Reduction of Commissions
                (against Kinney, Recruiting Partners GP, Inc., Kinney Recruiting LLC,
                Kinney Recruiting HK, and MWK) (Dkt. 237, at 53-54);

            •   COUNT IV: Promissory Estoppel (against Kinney, Recruiting Partners GP,
                Inc., Kinney Recruiting LLC, Kinney Recruiting HK, and MWK) (Dkt. 237,
                at 54-55);

            •   COUNT IX: Usury – Revolving Loan Agreement (against MWK, Kinney,
                and Counsel Unlimited) (Dkt. 237, at 55-56); and

            •   COUNT XI: Unjust Enrichment (against Kinney, Recruiting Partners GP,
                Inc., Kinney Recruiting LLC, Kinney Recruiting HK, and MWK) (Dkt. 237,
                at 56-57).

       Jowers plead his Causes of Action on August 19, 2019. (Dkt. 90). Jowers’s causes

of action for breach of contract, promissory estoppel, and unjust enrichment are NOT

compulsory counterclaims. Jowers’s causes of action for breach of contract and

promissory estoppel are governed by a four-year statute of limitation. Thus, any claim



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for breach of contract or promissory estoppel accruing before August 19, 2015, is time

barred. Jowers’s cause of action for unjust enrichment is governed by a two-year statute

of limitation. Thus, any claim for unjust enrichment accruing before August 19, 2017, is

time barred. Aside from the time bar, Jowers has no or insufficient evidence to support

his Causes of Action.

           The Court should grant summary judgment that Jowers’s causes of action for

breach of contract and promissory estoppel accruing prior to August 19, 2015 are time

barred, that Jowers’s cause of action for unjust enrichment is time barred, and that for

any of his remaining claims, those claims are dismissed for lack of evidence.

II.        STATEMENT OF THE ISSUES TO BE DECIDED

       •   Whether Jowers’s claims for breach of contract that accrued before August 19,
           2015 are barred by the statute of limitations;

       •   Whether Jowers’s claims for promissory estoppel that accrued before August 19,
           2015 are barred by the statute of limitation;

       •   Whether Jowers’s claims for unjust enrichment are barred by the statute of
           limitations;

       •   Whether Jowers has any evidence to support his claims for breach of contract
           that accrue after August 19, 2015;

       •   Whether Jowers has any evidence to support his claims for promissory estoppel
           that accrued after August 19, 2015; and

       •   Whether Jowers has any evidence to support his claims for usury.
III.       LEGAL STANDARDS

           A.    Summary Judgment

           Summary judgment is appropriate “if the movant shows that there is no genuine

dispute as to any material fact and the movant is entitled to judgment as a matter of




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law.” Fed. R. Civ. P. 56(a). The movant has the initial burden of proving the absence of a

genuinely disputed material fact relative to the claims in question. Celotex Corp. v.

Catrett, 477 U.S. 317, 330 (1986). Once the movant demonstrates the absence of a genuine

dispute, the burden shifts to the nonmovant to show there is a genuine factual issue. Id.

at 323–24. “[M]ere conclusory allegations are not competent summary judgment

evidence.” Eason v. Thaler, 73 F.3d 1322, 1325 (5th Cir. 1996).

      B.       Statutes of Limitations

               1.    Breach of Contract

      The statute of limitations for a breach of contract is four years. TEX. CIV. PRAC. &

REM. CODE § 16.004(a)(3).

               2.    Promissory Estoppel

      The statute of limitations for promissory estoppel is four years. TEX. CIV. PRAC. &

REM. CODE §16.051 (Vernon 1997); Farah v. Mafrige & Kormanik, P.C., 927 S.W.2d 663,

680 (Tex. App.—Houston [1st Dist.] 1996, no writ).

               3.    Unjust Enrichment

      Claims of unjust enrichment are governed by the two-year statute of limitations

in section 16.003 of the Texas Civil Practice and Remedies Code. Elledge v. Friberg-

Cooper Water Supply Corp., 240 S.W.3d 869, 871 (Tex. 2007) (per curiam); see TEX. CIV.

PRAC. & REM. CODE ANN. § 16.003(a) (West Supp. 2014).

IV.   STATEMENT OF UNDISPUTED MATERIAL FACTS

1.    Recruiting Partners GP, Inc., Kinney Recruiting LLC, Kinney Recruiting HK, and

MWK did not contract with or promise Jowers that they would pay him a bonus for 2015

or 2016.




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2.     There is no writing evidencing a contract or promise to pay Jowers a bonus for

2015 or 2016 by Recruiting Partners GP, Inc., Kinney Recruiting LLC, Kinney Recruiting

HK, and MWK.

3.     The Jowers Agreement allowed Jowers’s employer the unilateral ability to

prospectively change his commission rates.

4.     From 2011 onward, Jowers’s commission schedule was never changed by Kinney,

Kinney Recruiting LLC, Kinney Recruiting HK, or MWK.

5.     The Jowers Agreement permitted his employer to unilaterally determine, prior to

a placement having been made, Jowers’s percentage credit for any placement.

6.     At no time did Kinney, Recruiting Partners GP, Inc., Kinney Recruiting LLC,

Kinney Recruiting HK, and MWK change Jowers’s percentage credit for a placement

after the placement had been made.

7.     Kinney, Kinney Recruiting LLC, Kinney Recruiting HK, or MWK paid all

authorized business expenses submitted by Jowers.

8.     At no time did MWK, Kinney, or Counsel Unlimited ever charge interest on any

loan in excess of the maximum amount allowed under Texas law.

9.     Kinney, Recruiting Partners GP, Inc., Kinney Recruiting LLC, Kinney Recruiting

HK, and MWK never made a promise to Jowers in which his reliance was foreseeable,

reasonable, and was to his detriment.


V.     SUMMARY JUDGMENT OF DISMISSAL OF JOWERS’S COUNTER-
       CLAIMS SHOULD BE GRANTED

       Jowers’s Causes of Action should be dismissed because they are either time barred

or because Jowers has insufficient evidence to demonstrate genuine issue of disputed

material fact.


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       A.       Contract Claims

       Jowers alleges three separate breaches of contract:

            •   COUNT I: Breach of Contract – Hong Kong Office Expenses (against
                Kinney, Kinney Recruiting LLC, Kinney Recruiting HK, and MWK) (Dkt.
                237, at 50-52);

            •   COUNT II: Breach of Contract – Unpaid Bonuses (against Kinney,
                Recruiting Partners GP, Inc., Kinney Recruiting LLC, Kinney Recruiting
                HK, and MWK) (Dkt. 237, at 52-53); and

            •   COUNT III: Breach of Contract – Retroactive Reduction of Commissions
                (against Kinney, Recruiting Partners GP, Inc., Kinney Recruiting LLC,
                Kinney Recruiting HK, and MWK) (Dkt. 237, at 53-54).

(collectively the “Contract Claims”) (Dkt 237, at 50-54).

                1.    Jowers’s Contract Claims that accrued before August 19,
                      2015 are time barred.

       The Court has recognized that Jowers’s Contract Claims for unpaid bonuses,

unpaid commissions, and unpaid expenses are not compulsory counterclaims because

they do not arise out of the same set of operative facts of MWK’s claims for breach of the

covenants and theft of trade secrets, which accrued in 2016 and beyond. Dkt. 229, at 8-

11. Because Jowers’s Contract Claims are not compulsory counterclaims, they are

governed by the four-year statute of limitation for breach of contract claims. TEX. CIV.

PRAC. & REM. CODE § 16.004(a)(3). Jowers first plead his Contract Claims on August 19,

2019. Thus, any Contract Claim accruing before August 19, 2015 is time barred.

Therefore, the Court should dismiss all Jowers’s Contract Claims that accrued before

August 19, 2015.




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             2.     Jowers has no or insufficient evidence to support any claims
                    accruing after August 19, 2015

                    a.    Count I – Hong Kong Office Expenses

      Jowers lacks any evidence that he incurred an authorized office expense that was

submitted for payment and not reimbursed by Kinney, Kinney Recruiting LLC, Kinney

Recruiting HK, or MWK. Because Jowers has no or insufficient evidence to demonstrate

a genuine issue of material fact, the Court should dismiss any breach of contract claim

for Hong Kong Office Expenses that accrued after August 19, 2015.

                    b.    Count II – Unpaid Bonuses

      Jowers lacks any evidence that Kinney, Recruiting Partners GP, Inc., Kinney

Recruiting LLC, Kinney Recruiting HK, and MW failed to pay Jowers’s a contractual

mandated bonus after August 19, 2015. Because Jowers has no or insufficient evidence

to demonstrate a genuine issue of material fact, the Court should dismiss any breach of

contract claim for unpaid bonuses that accrued after August 19, 2015.

                    c.    Count III - Retroactive Reduction of Commissions

      Jowers lacks any evidence that Kinney, Recruiting Partners GP, Inc., Kinney

Recruiting LLC, Kinney Recruiting HK, and MWK retroactively reduced Jowers’s

commissions in violation of the terms of Jowers’s employment contract after August 19,

2015. Because Jowers has no or insufficient evidence to demonstrate a genuine issue of

material fact, the Court should dismiss any breach of contract claim for Retroactive

Reduction of Commissions that accrued after August 19, 2015.

      B.     Promissory Estoppel

      Jowers alleges one count of promissory estoppel: COUNT IV: Promissory Estoppel

(against Kinney, Recruiting Partners GP, Inc., Kinney Recruiting LLC, Kinney


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Recruiting HK, and MWK) (Dkt. 237, at 54-55). (the “Promissory Estoppel Claims”).

              1.     Jowers’s Promissory Estoppel Claims that accrued before
                     August 19, 2015 are time barred.

       Like the Contract Claims, the Court has recognized that the factual allegations of

Jowers’s Promissory Estoppel claims are not compulsory counterclaims because they do

not arise out of the same set of operative facts of MWK’s claims for breach of the

covenants and theft of trade secrets, which accrued in 2016 and beyond. (Dkt. 229, at 8-

11). Because Jowers’s Promissory Estoppel Claims are not compulsory counterclaims,

they are governed by the four-year statute of limitation for promissory estoppel. TEX. CIV.

PRAC. & REM. CODE §16.051; Farah v. Mafrige & Kormanik, P.C., 927 S.W.2d 663, 680

(Tex. App.—Houston [1st Dist.] 1996, no writ). Jowers first plead his Promissory Estoppel

Claim on August 19, 2019. Thus, any Promissory Estoppel Claim accruing before August

19, 2015 is time barred. Therefore, the Court should dismiss all Jowers’s Promissory

Estoppel claims that accrued before August 19, 2015.

              2.     Jowers has no or insufficient evidence to support any
                     Promissory Estoppel claims accruing after August 19, 2015

       The requisites of promissory estoppel are: (1) a promise, (2) foreseeability of

reliance thereon by the promisor, and (3) substantial reliance by the promisee to his

detriment. Aubrey v. Workman, 384 S.W.2d 389, 393 (Tex.Civ. App.—Fort Worth 1964,

writ ref'd n.r.e.). “Promissory estoppel generally is a defensive doctrine in that it estops

a promisor from denying the enforceability of [a] promise.” Trammell Crow Co. No. 60 v.

Harkinson, 944 S.W.2d 631, 636 (Tex. 1997) (“Promissory estoppel generally is a

defensive doctrine in that it estops a promisor from denying the enforceability of [a]

promise.”).



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       While a specific, detailed promise might support a promissory estoppel claim,

relying on a vague, indefinite promise of future business is unreasonable as a matter of

law. See Allied Vista, Inc. v. Holt, 987 S.W.2d 138, 141-42 (Tex. App.-Houston [14th Dist.]

1999, pet. denied); Gilmartin v. KVTV-Channel 13, 985 S.W.2d 553, 558-59 (Tex. App.-

San Antonio 1998, no pet.); Gillum v. Republic Health Corp., 778 S.W.2d 558, 570 (Tex.

App.-Dallas 1989, no pet.); cf. Montgomery County Hosp. Dist. v. Brown, 965 S.W.2d 501,

503 (Tex. 1998) (“Only when the promises are definite and, thus, of the sort which may

be reasonably or justifiably relied on by the employee, will a contract claim be viable, not

when the employee relies on only vague assurances that no reasonable person would

justifiably rely on.”).

       Jowers lack any evidence that Kinney, Recruiting Partners GP, Inc., Kinney

Recruiting LLC, Kinney Recruiting HK, and MWK made any promise to Jowers that was

foreseeably relied upon by Jowers and was reasonably relied upon by Jowers to his

detriment. Because Jowers has no or insufficient evidence to demonstrate a genuine issue

of material fact, the Court should dismiss any breach of contract claim for Retroactive

Reduction of Commissions that accrued after August 19, 2015.

       C.      Usury

       Jowers alleges one count of usury: COUNT IX: Usury – Revolving Loan Agreement

(against MWK, Kinney, and Counsel Unlimited) (Dkt. 237, at 55-56). (the “Usury

Claims”).

               1.     Jowers has no or insufficient evidence to support any Usury
                      claim

       The essential elements of a usurious transaction are: (1) a loan of money; (2) an

absolute obligation that the principal be repaid; and (3) the exaction of a greater


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compensation than allowed by law for the borrower's use of the money. First Bank v.

Tony's Tortilla Factory, Inc., 877 S.W.2d 285, 287 (Tex. 1994); Varel Mfg. Co. v. Acetylene

Oxygen Co., 990 S.W.2d 486, 491 (Tex. App.-Corpus Christi 1999, no pet.). Usury is

defined as “interest that exceeds the applicable maximum amount allowed by law.” Tex.

Fin. Code Ann. 301.001(4) (Vernon 1998). Interest is the “compensation for the use,

forbearance, or detention of money.” Tex. Fin. Code Ann. 301.002(a)(4) (Vernon Supp.

2003). Jowers has no or insufficient evidence that any loan agreement is usurious. In

particular, Jowers lacks any evidence that MWK, Kinney, and Counsel Unlimited

charged an interest on any loan that exceeded the applicable maximum amount allowed

by law.

       D.      Unjust Enrichment

       Jowers alleges one count of unjust enrichment: COUNT XI: Unjust Enrichment

(against Kinney, Recruiting Partners GP, Inc., Kinney Recruiting LLC, Kinney

Recruiting HK, and MWK) (Dkt. 237, at 56-57). (the “Unjust Enrichment Claims”).

               1.    Jowers’s Unjust Enrichment claims that accrued before
                     August 19, 2017 are time barred

       Like the Contract Claims, the Court has recognized that the factual allegations of

Jowers’s Unjust Enrichment Claims are not compulsory counterclaims because they do

not arise out of the same set of operative facts of MWK’s claims for breach of the

covenants and theft of trade secrets, which accrued in 2016 and beyond. Dkt. 229, at 8-

11. Because Jowers’s Unjust Enrichment Claims are not compulsory counterclaims, they

are governed by the two-year statute of limitation for unjust enrichment. TEX. CIV. PRAC.

& REM. CODE §16.003. Elledge v. Friberg-Cooper Water Supply Corp., 240 S.W.3d 869,

871 (Tex. 2007) (per curiam). Jowers first plead his Unjust Enrichment claim on August


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19, 2019. Thus, any Unjust Enrichment claim accruing before August 19, 2017 is time

barred. Therefore, the Court should dismiss all Jowers’s Unjust Enrichment claims that

accrued before August 19, 2017.

             2.     Jowers has no or insufficient evidence to support any claims
                    accruing after August 19, 2017

       Jowers has not plead any claim for unjust enrichment that accrued after August

19, 2017. Because all claims for unjust enrichment, as plead, must have accrued before

August 19, 2017, the Court should dismiss Jowers’s claim of unjust enrichment in its

entirety.

VI.    CONCLUSION

       Jowers’s Contract Claims and Promissory Estoppel Claims accruing before August

19, 2015 and Unjust Enrichment Claims accruing before August 19, 2017 are barred by

the applicable statutes of limitations. For Jowers’s remaining claims, he lacks sufficient

evidence to establish a genuine issue of material fact.




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Dated: January 13, 2021                 Respectfully Submitted

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